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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE

                                               )
JEFFREY PAUL BARNARD,
                                               )
                                               )
                 Plaintiff,                    )
                                               )
v.                                             )     Case No: 1:16-cv-00276-LEW
                                               )
                                               )
STATE OF MAINE, et al.,
                                               )
                                               )
               Defendants.                     )

     DEFENDANTS BIRES AND TOKAS’ MOTION FOR SUMMARY JUDGMENT WITH
                   INCORPORATED MEMORANDUM OF LAW

        Pursuant to Fed. R. Civ. P. 56, Defendants Troy Bires and Barton Tokas hereby move for

summary judgment as to all of Plaintiff’s claims. As set forth below and in the accompanying

Defendants’ Statement of Material Facts Not in Dispute (“DSMF”), Defendants contend that

there are no genuine issues of material fact precluding this Court from entering summary

judgment in favor of Defendants Bires and Tokas.

                                        BACKGROUND

        This case arises from a twenty-hour police standoff involving Plaintiff Jeffrey Barnard

and numerous law enforcement agencies, including the Ellsworth Police Department and the

Maine State Police Tactical Team. See Order Rejecting Magistrate Decision, Doc. No. 50, ECF

PageID# 617-18. The standoff ended after Maine State Police Trooper Scott Duff shot Plaintiff.

Id. This information is provided for background purposes only and is not material to the claims

against Defendants Bires and Tokas, both Ellsworth police officers at the time of this incident.

Defendants Bires and Tokas did not use any physical force against Plaintiff and were not even

present when he was shot by Defendant Duff. Nevertheless, Plaintiff apparently seeks to hold
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Defendants Bires and Tokas liable under 42 U.S.C. § 1983 and state law. Based on the

undisputed facts, there is no basis for liability against Defendants Bires and Tokas under any

theory.

          The undisputed material facts relevant to Defendants Bires and Tokas are as follows: On

May 31, 2014, Officer Bires was dispatched to a residence in Ellsworth to respond to a civil

dispute involving the owner, James Thibodeau, and Plaintiff Jeffrey Barnard, who was living in a

camper parked in the driveway of the Thibodeau residence. DSMF ¶ 3. On arrival at the

residence, Officer Bires spoke to Plaintiff about a complaint by Mr. Thibodeau that Plaintiff had

taken the key for Mr. Thibodeau’s Kubota tractor and would not return it. DSMF ¶ 4. Plaintiff

claimed that he had an agreement with Mr. Thibodeau for the exclusive use of the tractor and

that Plaintiff had taken the key so it could not be moved. DSMF ¶ 5. Officer Bires spoke to Mr.

Thibodeau who denied having any kind of agreement with Plaintiff, but confirmed that Plaintiff

had the keys to the tractor so he was unable to move it, as he wished to do. DSMF ¶ 7.

          Officer Bires went to Plaintiff’s camper to speak with Plaintiff, who had gone inside the

camper. DSMF ¶ 8. Plaintiff came to the door, but refused Officer Bires’ request that he give him

the keys to the tractor. DSMF ¶ 10. When Officer Bires told Plaintiff he would be charged with

theft if he did not return the keys, Plaintiff became very agitated and sent his dog out of the

camper towards Officer Bires. DSMF ¶ 11.When Officer Bires saw Plaintiff standing in the

doorway of the camper, but concealing his right hand from view, Officer Bires ordered Plaintiff

to show him his hands. DSMF ¶ 13. Upon being ordered by Officer Bires to show his hands,

Plaintiff responded by saying: “No, fuck you, shoot me.” DSMF ¶ 14. Because Plaintiff refused

to show his hands, and given the volatility of Plaintiff, Officer Bires drew his service pistol while

continuing to give commands to Plaintiff to show his hands. DSMF ¶¶ 15-16. Plaintiff refused to



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show his hands, told Officer Bires to shoot him and then closed the trailer door. DSMF ¶¶ 16-17.

Officer Bires retreated to his cruiser to call for backup. DSMF ¶ 20.

       Officer Tokas arrived at the scene in response to the request for backup and was briefed.

DSMF ¶¶ 20-21. Because Officer Tokas knew Plaintiff and thought he had a good rapport with

Plaintiff based on their previous exchanges, he decided to attempt to talk to Plaintiff to

deescalate the situation. DSMF ¶ 24. Plaintiff was standing in the camper’s doorway as he spoke

to Officer Tokas, who told Plaintiff that he would be charged with theft if he did not return the

key. DSMF ¶¶ 25-26. Plaintiff then told Officer Tokas that he and his wife would barricade

themselves inside the camper. DSMF ¶ 27. Officer Tokas warned him against causing a police

standoff. DSMF ¶ 27. Plaintiff told Officer Tokas that he had caused a prolonged standoff

previously, and that he and his wife would take their own lives before he’d return to prison.

Plaintiff also advised Officer Tokas that he would torch the camper. DSMF ¶¶ 28-29. After

initially closing the door, Plaintiff opened the door back up and showed Officer Tokas a five

gallon gasoline can, warning Officer Tokas that he was not joking about blowing up the camper.

DSMF ¶ 30. Plaintiff then shut the door to the camper, and refused to speak to Officer Tokas

further. DSMF ¶ 31.

       As noted, a twenty-hour standoff ensued culminating in Defendant Duff shooting

Plaintiff. DSMF ¶¶ 34-35, 39. When Plaintiff was shot by a member of the Maine State Police

tactical team at approximately 3:30 a.m. on June 1, 2014, Officer Bires and Officer Tokas were

no longer on duty and were not present at the scene. DSMF ¶ 39. After their initial, brief

exchanges with Plaintiff, they had no further contact with him during or immediately after the

standoff. DSMF ¶¶ 36-38. Plaintiff plead guilty to being a felon in possession of a firearm in

violation of 18 U.S.C. § 922(g)(1). DSMF ¶ 43. Officer Bires testified about the events of May



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31, 2014 at Mr. Barnard’s criminal sentencing hearing on January 4, 2017 and was cross-

examined by Mr. Barnard’s criminal defense attorney. DSMF ¶ 42.

       Plaintiff subsequently initiated this Fourth Amendment excessive force claim under 42

U.S.C. § 1983. He also alleges state law tort claims of assault and battery. Plaintiff alleges that

Defendant Bires pointed a gun in Plaintiff’s face. He also alleges that Defendant Tokas was

present and that every officer present on the scene “assaulted and attacked” him. Am. Compl. ¶¶

18, 24. The Magistrate Judge screened the Complaint pursuant to 28 U.S.C. §§ 1915(e), 1915A

and recommended that the Complaint be dismissed against all defendants except for Troy Bires.

Recommended Decision After Screening Compl. at 1–6 (ECF No. 4). The Court subsequently

granted Mr. Barnard’s motion to amend the Complaint. Mem. of Decision Granting Mot. to

Amend (ECF No. 15). The Magistrate Judge issued a second recommended decision based on

the Amended Complaint, concluding that Mr. Barnard had stated a § 1983 excessive force and

state law assault and battery claims against Defendants Bires, Duff and Tokas, which the Court

affirmed. (ECF No. 29). Defendant Duff moved to dismiss all claims. The Magistrate Judge

recommended denying the motion and Defendant Duff filed an objection. See ECF. Nos. 47 &

49. Thereafter, the Court granted Defendant Duff’s motion to dismiss. See ECF. No. 50.

                                       LEGAL STANDARD

       Summary judgment is appropriate “if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits. . . show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(c); Fabiano v. Hopkins, 352 F.3d 447, 452 (1st Cir. 2003). A fact is

“material” if it “has the potential to change the outcome of the suit.” Tropigas de Puerto Rico,

Inc. v. Certain Underwriters of Lloyd’s of London, 637 F.3d 53, 56 (1st Cir. 2011) (parallel



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quotation omitted). An issue is “genuine” if “a reasonable jury could resolve the point in favor

of the nonmoving party.” Id. The facts are viewed in the light most favorable to the non-moving

party and the court draws all reasonable inferences in favor of the non-moving party. Fed. Ins.

Co. v. Commerce, Inc. Co., 597 F.3d 68, 70 (1st Cir. 2010). However, “[o]nce the moving party

has pointed to the absence of adequate evidence supporting the nonmoving party's case, the onus

is on the nonmoving party to present facts that show a genuine issue for trial.” Napier v. Town of

Windham, 187 F.3d 177, 182 (1st Cir. 1999). The non-moving party must present “competent

evidence and specific facts to stave off summary judgment.” Tropigas, 637 F.3d at 56 (internal

citations omitted). The non-moving party’s “obligation cannot be satisfied by conclusory

allegations, empty rhetoric, unsupported speculation, or evidence which, in the aggregate, is less

than significantly probative.” Rogan v. City of Boston, 267 F.3d 24, 27 (1st Cir. 2001).

                                          ARGUMENT

   I.      DEFENDANTS BIRES AND TOKAS ARE ENTITLED TO SUMMARY
           JUDGMENT ON PLAINTIFF’S SECTION 1983 EXCESSIVE FORCE CLAIM

           A.      Defendants Bires and Tokas Never Seized Plaintiff within the Meaning of
                   the Fourth Amendment

        The Fourth Amendment prohibits “unreasonable searches and seizures.” U.S. Const.

amend. IV. “To make out a Fourth Amendment excessive force claim, a plaintiff must show, as

an initial matter, that there was a seizure within the meaning of the Fourth Amendment, and then

that the seizure was unreasonable.” Stamps v. Town of Framingham, 813 F.3d 27, 35 (1st Cir.

2016). Here, it is undisputed that there was no physical force used by Defendants Bires and

Tokas against Plaintiff. DSMF ¶ 40. However, the Fourth Amendment’s bar on unreasonable

seizures may be implicated if a person is seized by other methods. A person is seized by a “show

of authority” only when “‘in view of all of the circumstances surrounding the incident, a



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reasonable person would have believed that he was not free to leave.’” United States v. Fields,

823 F.3d 20, 25 (1st Cir. 2016) (quoting United States v. Mendenhall, 446 U.S. 544, 553–54, 100

S. Ct. 1870, 1877, 64 L. Ed. 2d 497 (1980)). A show of authority can result from: “[1] the

threatening presence of several officers, [2] the display of a weapon by an officer, [3] some

physical touching of the person of the citizen, or [4] the use of language or tone of voice

indicating that compliance with the officer's request might be compelled.” Mendenhall, 446 U.S.

at 554. However, an officer’s show of authority “effects a seizure only when the defendant

actually yields or submits to the show of authority.” Fields, 823 F.3d at 25. See also California v.

Hodari D., 499 U.S. 621, 626, 111 S. Ct. 1547, 1550–51, 113 L. Ed. 2d 690 (1991) (“The narrow

question before us is whether, with respect to a show of authority as with respect to application

of physical force, a seizure occurs even though the subject does not yield. We hold that it does

not.”); Stamps, 813 F.3d at 35 (“A person is seized by an officer’s show of authority if ‘a

reasonable person would have believed that he was not free to leave’ . . . and he in fact submits

to the officer’s assertion of authority.”) (internal citations omitted).

        Here, Officer Bires’ “show of authority” was the display of his firearm and commands

for Barnard to show his hands. DSMF ¶¶ 13-15. Under these circumstances, a reasonable person

seeing the display of Officer Bires’ pistol and hearing his commands, would have believed that

he was not free to leave. Even so, Plaintiff was not “seized” within the meaning of the Fourth

Amendment because Plaintiff never actually submitted to Officer Bires’ show of authority.

Rather, Plaintiff refused to show his hands and went back into his trailer. DSMF ¶¶ 14-18.

Because Officer Bires never seized Plaintiff, Plaintiff’s Fourth Amendment claim fails as a

matter of law.




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          Officer Tokas also never seized Plaintiff within the meaning of the Fourth Amendment.

Officer Tokas arrived on the scene after Officer Bires retreated from the trailer. Because Officer

Tokas had dealt with Plaintiff previously, he decided to approach the camper to speak Plaintiff in

an attempt to resolve the issue about the tractor key and try to deescalate the situation. DSMF ¶

24. Officer Tokas spoke with Plaintiff briefly and told Plaintiff to turn over the keys to the tractor

or he could be charged with theft. DSMF ¶ 26. In response, Plaintiff threatened to blow up the

camper, initially went inside the camper and then opened the door shortly thereafter to show

Officer Tokas a gas can. See DSMF ¶¶ 26-30. Although Officer Tokas spoke with Plaintiff, his

“show of authority” was, at most, his commands to return the keys. Officer Tokas never seized

Plaintiff within the meaning of the Fourth Amendment because Plaintiff never submitted to

Officer Tokas’ assertion of authority, instead returning to his trailer. See Stamps, 813 F.3d at 35.

Accordingly, Plaintiff’s § 1983 Fourth Amendment claims against Officer Tokas fail as a matter

of law.

             B.     Bires and Tokas’ Actions were Objectively Reasonable, or at the Very
                    Least, They are Entitled to Qualified Immunity

          Even assuming arguendo that Plaintiff was seized within the meaning of the Fourth

Amendment by Bires and Tokas’ show of authority, their actions were objectively reasonable as

a matter of law and did not amount to excessive force under the Fourth Amendment. To establish

a Fourth Amendment violation based on excessive force, “a plaintiff must show that the

defendant officer employed force that was unreasonable under the circumstances.” Jennings v.

Jones, 499 F.3d 2, 11 (1st Cir. 2007). Excessive force claims are evaluated under the Fourth

Amendment’s “objective reasonableness” standard. Graham v. Connor, 490 U.S. 386, 388

(1989). The reasonableness of an officer’s use of force “must be judged from the perspective of

a reasonable officer on the scene, rather than with the 20/20 vision of hindsight.” Estate of

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Bennett v. Wainwright, 548 F.3d 155, 175 (1st Cir. 2008) (citing Napier, 187 F.3d at 188).

Relevant factors for consideration include “the severity of the crime at issue, whether the suspect

poses an immediate threat to the safety of the officers or others, and whether he is actively

resisting arrest or attempting to evade arrest by flight.” Graham, 490 U.S. at 396. A court’s

assessment of reasonableness must account “for the fact that police officers are often forced to

make split-second judgments—in circumstances that are tense, uncertain, and rapidly evolving—

about the amount of force that is necessary in a particular situation.” Id. at 396-97.

       Officer Bires did not use excessive force in violation of Plaintiff’s Fourth Amendment

rights. Officer Bires un-holstered and displayed his firearm for approximately one minute after

Plaintiff refused to show his hands and was becoming increasingly agitated. DSMF ¶¶ 14-19.

Plaintiff kept his right hand behind the door where it was not visible to Officer Bires. DSMF ¶

18. Officer Bires did not know what Plaintiff was holding in his hand, but based on Plaintiff’s

increased agitation and his violent statement telling Bires to shoot him, Officer Bires believed

Plaintiff may have a weapon in his hand. DSMF ¶¶ 14-16. It was reasonable for Officer Bires to

have his firearm ready in order to protect himself from the potential threat of Plaintiff. Given

Plaintiff’s volatility and the time it takes to unholster a firearm, it was reasonable for Officer

Bires to draw his pistol so he would be prepared if Plaintiff suddenly displayed a weapon. DSMF

¶ 16. Officer Bires never pointed his firearm at Plaintiff’s head and he never discharged his

firearm. DSMF ¶ 19. He tried to deescalate the situation by backing away from Plaintiff’s

residence. Officer Bires’ brief display of his firearm was reasonable given the circumstances he

confronted.

       Even assuming that Plaintiff did not have a weapon in his hand, Officer Bires’ actions

were not unreasonable under the Fourth Amendment simply because “[he] may have failed to



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perfectly calibrate the amount of force required to protect [himself].” Berube, 506 F.3d at 85. At

the very least, Officer Bires is entitled to qualified immunity. Qualified immunity “shields

officials from civil liability so long as their conduct ‘does not violate clearly established statutory

or constitutional rights of which a reasonable person would have known.’” Mullenix v. Luna,

136 S. Ct. 305, 308 (2015) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). A police

officer’s conduct “violates clearly established law when, at the time of the challenged conduct,

‘[t]he contours of [a] right [are] sufficiently clear’ that every ‘reasonable official would have

understood that what he is doing violates that right.’” Ashcroft v. al-Kidd, 563 U.S. 731, 741

(2011) (quoting Anderson v. Creighton, 483 U.S. 635, 640 (1987)). In other words, for a law to

be considered clearly established, “existing precedent must have placed the statutory or

constitutional question beyond debate.” Ashcroft, 563 U.S. at 741. See also White v. Pauly, 137

S. Ct. 548, 552, 196 L. Ed. 2d 463 (2017).

       Here, because Officer Bires never discharged his firearm, the focus of the inquiry is on

the display of a firearm, not the actual use of deadly force. First Circuit precedent establishes that

displaying a firearm under the circumstances was constitutionally permissible. This case is

distinguishable from First Circuit cases where qualified immunity was denied to officers who

pointed their firearms for extended periods of time at compliant, innocent bystanders. For

example, in Mlodzinski v. Lewis, officers were denied qualified immunity after detaining two

innocent and compliant women at gunpoint during a search for a suspect believed to be living at

the same residence. 648 F.3d 24 (1st Cir. 2011). There, the officers shoved the fifteen year old

sister of the suspect to the ground, handcuffed her and pointed an assault rifle at her head for

seven to ten minutes. Id. at 30. The other woman, the suspect’s mother, was held at gunpoint for

thirty minutes while forced to sit nearly nude in bed. Id. at 39. The First Circuit recognized that



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the officers “did initially have to make split second decisions to assess [the individuals’] threat

level and the possible need for restraint” but “it quickly became clear” that the two women were

not suspects. Id. at 37-38. Because the women were compliant with orders, and clearly did not

pose a danger to the officers, the officers were not entitled to qualified immunity. Id. 39-40. In

Mlodzinski, the First Circuit alluded to the fact that the outcome of the case may have been

different, if for example, the officer had pointed the gun at the women “for only a very short

period.” Id. at 40.

        Similarly, in Stamps v. Town of Framingham, the First Circuit found that the officer was

not entitled to qualified immunity where the officer pointed a loaded, semi-automatic rifle, with

the safety off and his finger on the trigger, at Stamps. 813 F.3d 27 (1st Cir. 2016). Police

officers were executing a search warrant of Stamps’ apartment, but he was not suspected of any

illegal activity underlying the search warrant. Id. at 30-31. Officers were informed in advance

that Stamps, who was sixty-eight years old, would likely be in the apartment, but that his

criminal record consisted only of motor vehicle arrests/charges. Id. at 30-31. The officer

continued to point the gun at Stamps even though he was fully compliant with orders, was

unarmed, laid flat on his stomach and “constituted no threat.” Id. at 31. The Court, relying in part

on Mlodzinski, found that it was clearly established that a warrant to conduct a SWAT raid does

not grant officers license to aim their weapons at the heads of submissive and nonthreatening

individuals. Id. at 40.

        Here, in contrast, Officer Bires knew that Plaintiff was non-compliant with his orders,

becoming increasingly agitated, and had responded to his commands by yelling “fuck you, shoot

me.” Officer Bires was also the only officer present when he encountered Plaintiff and un-

holstered his weapon. Unlike in Stamps and Mlodzinski, Officer Bires did not have the luxury of



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back-up during his exchange with Plaintiff. Barnard was also the suspect, not an innocent

bystander, and he refused to comply with commands and was acting unpredictably. Based on

Plaintiff’s refusal to immediately show his hand and his volatility, it was objectively reasonable

to anticipate that he may have a dangerous weapon. Stamps and Mlodzinski clearly established

that it was impermissible to point a gun at the head of innocent, non-threatening and compliant

bystander for an extended period of time. Those cases do not clearly establish that an officer

cannot un-holster his firearm during an exchange with a volatile, potentially dangerous suspect

for a short period of time. Officer Bires was not required to wait and see if Plaintiff pulled out a

gun or other dangerous weapon before preparing to protect himself. Cf. Berube v. Conley, 506

F.3d 79 (1st Cir.2007) (holding that the officer was entitled to qualified immunity where she

continued to shoot a man who had charged her with a hammer, even though she continued to fire

after he fell to the ground, because the events happened in a very short period of time and the

evidence showed the officer made a split-second decision under uncertain circumstances).

       Perhaps the situation might have been handled differently. However, that is not the

proper inquiry. Officer Bires’ actions must be evaluated from the on-scene perspective, not with

the advantage of 20/20 hindsight. See Saucier v. Katz, 533 U.S. 194, 205, 121 S. Ct. 2151

(2001). Under these circumstances, the objective reasonableness of the officer’s conduct cannot

be seriously questioned. The standard applied must be “comparatively generous” to the officer

because he was faced with “potential danger,” “emergency conditions,” and “urgent

circumstances.” See Roy v. City of Lewiston, 42 F.3d 691, 695 (1st Cir. 1994). There is no

precedent requiring an officer to wait until he or she actually sees a weapon before un-holstering

and displaying his or her firearm. Courts, rightly so, have never determined the exact moment

when an officer is allowed to un-holster his or her firearm because officers are often required to



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use their judgment and react quickly to a suspect’s actions in tense, rapidly evolving emergency

situations. Officer Bires was not required to wait and see what Plaintiff may have had in his hand

or whether Plaintiff was going to react violently. Cf. Brosseau v. Haugen, 543 U.S. 194, 197, 125

S. Ct. 596; City & Cty. of San Francisco, Calif. v. Sheehan, 135 S. Ct. 1765, 191 L. Ed. 2d 856

(2015); Napier v. Town of Windham, 187 F.3d 177, 188–89 (1st Cir. 1999) (rejecting argument

that officers’ pre-confrontation conduct amounted to violation of clearly established

constitutional right); Sheehan, 135 S. Ct. at 1777 (“[E]ven if [the officers] misjudged the

situation, Sheehan cannot ‘establish a Fourth Amendment violation based merely on bad tactics

that result in a deadly confrontation that could have been avoided.’”) (internal citations omitted).

Based on existing precedent, Officer Bires did not violate clearly established law and is therefore

entitled to qualified immunity.

       Similarly, to the extent Plaintiff was seized by Officer Tokas within the meaning of the

Fourth Amendment, Officer Tokas’ presence and voice commands were objectively reasonable

as a matter of law. Officer Tokas never used any physical force against Plaintiff, let alone

excessive force. During Officer Tokas’ interaction with Plaintiff, Plaintiff threatened to blow up

his camper and create a police standoff. Officer Tokas’ measured response by attempting to

communicate with Plaintiff to convince him to give up the key to the trailer and not cause a

standoff was objectively reasonable. Plaintiff was making serious threats of harming himself, his

wife, and, implicitly, law enforcement officers by creating a standoff and setting off an

explosion. DSMF ¶¶ 27-30. He was also disregarding Officer Tokas commands. Defense counsel

is not aware of any Fourth Amendment case law that prohibits law enforcement officers from

interacting with suspects or attempting to deescalate a situation. See United States v. Mendenhall,

446 U.S. 544, 553–54, 100 S. Ct. 1870, 1877, 64 L. Ed. 2d 497 (1980) (“The purpose of the



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Fourth Amendment is not to eliminate all contact between the police and the citizenry, but ‘to

prevent arbitrary and oppressive interference by enforcement officials with the privacy and

personal security of individuals.’”) (internal citation omitted). Therefore, at the very least,

Officer Tokas is entitled to qualified immunity.

            C.      Any State-Created Danger Theory of Liability Fails as a Matter of Law

         Plaintiff alleges that the “ineptitude behavior” from Defendant Tokas and Bires “resulted

in a police standoff” for twenty hours “ending with this Plaintiff being shot in the head/face” by

Defendant Duff. Amended Complaint, Doc. No. 16 ECF PageID# 146. Although Plaintiff

alleged that Defendants violated his due process claims under the Fourteenth Amendment,

during screening the Court implicitly rejected these claims in finding that Plaintiff had only

stated a § 1983 Fourth Amendment excessive force claim and state law tort claims against

Defendants Bires and Tokas. Order affirming Recommended Decision of Magistrate Judge (Doc.

No. 29), ECF Page ID# 218. To the extent Plaintiff attempts to hold Defendants Tokas and Bires

liable under § 1983 for the use of deadly force based on their pre-shooting conduct, Plaintiff

states, at best a Fourteenth Amendment claim, which has already been implicitly rejected by the

Court.

         To the extent these allegations are considered as part of Plaintiff’s claims against Tokas

and Bires, they fail as a matter of law because they do not implicate the Fourth Amendment or

any affirmative constitutional duty. It was Plaintiff’s own actions that resulted in the police

stand-off. See DSMF ¶¶ 31-35. And it was Plaintiff’s own actions in firing several rounds from a

rifle and throwing a Molotov cocktail at officers outside his camper that led to Defendant Duff

using deadly force against him. See DSMF ¶ 39. There is no evidence in the record that the

actions and alleged omissions of Defendants Tokas and Bires caused Defendant Duff to use



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deadly force against Plaintiff nearly twenty hours later. Although pre-shooting conduct may be

considered in the Fourth Amendment analysis, any link between Defendants Tokas and Bires’

actions and the use of any force against Plaintiff during the standoff is far too attenuated to

support § 1983 liability. For the reasons discussed above, the actions of Defendants Tokas and

Bires were constitutionally permissible. Their own actions are “not rendered unreasonable

because it provoke[d] a violent reaction” from Plaintiff. City & Cty. of San Francisco, Calif. v.

Sheehan, 135 S. Ct. 1765, 1777, 191 L. Ed. 2d 856 (2015).

       As discussed fully below, there are circumstances when a police officer may have an

affirmative duty to intervene to prevent an alleged use of excessive force by another officer, even

if he or she does not personally use any force. See Gaudreault v. Municipality of Salem, 923

F.2d 203, 207 n. 3 (1st Cir.1990). A claim based on an officer’s failure to intervene requires

specific elements and is governed by the “objectively reasonable” standard applicable to Fourth

Amendment claims. See Torres-Rivera v. O’Neill-Cancel, 406 F.3d 43, 52 (1st Cir. 2005).

However there is nothing in Fourth Amendment precedent that imposes an obligation upon

officers to prevent a suspect from causing an armed standoff. Of course there is nothing to

prevent a state from imposing “affirmative duties of care and protection upon its agents as it

wishes. But not ‘all common-law duties owed by government actors were . . . constitutionalized

by the Fourteenth Amendment.’” DeShaney v. Winnebago Cty. Dep't of Soc. Servs., 489 U.S.

189, 202, 109 S. Ct. 998, 1007, 103 L. Ed. 2d 249 (1989) (quoting Daniels v. Williams, 474 U.S.

327, 335 (1086). Plaintiff has asserted state law claims against Defendants (addressed below)

arising from this incident. However, Plaintiff cannot create an affirmative constitutional duty

where none exists. Sheehan, 135 S. Ct. at 1777.

           D.      Bystander Liability Cannot Attach Because the Officers were Not Present
                   when Deadly Force (or any Force) was Used

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       Plaintiff appears to allege so-called “bystander liability” claims against Defendants Tokas

and Bires for failing to intervene to prevent Defendant Duff’s use of deadly force against him.

Complaint, ECF PageID# 166. Based on the undisputed record, Plaintiff cannot make out the

elements of a bystander claim as a matter of law. “Absent evidence of participation, concerted

action, or at least culpable knowledge, one officer cannot be held jointly liable under section

1983 for another officer's” alleged unconstitutional conduct. See Calvi v. Knox Cty., 470 F.3d

422, 429 (1st Cir. 2006). Of course, there are circumstances when a police officer may be held

liable for the failure to prevent an alleged constitutional violation by another officer, even if he

or she does not personally participate. See Gaudreault, 923 F.2d at 207, n.3. Under certain

circumstances, an officer who fails to intervene to prevent an alleged use of excessive force may

be held liable under Section 1983 for his or her nonfeasance provided that the officer had a

“realistic opportunity” to do so. Id. However, for liability to attach under a bystander theory, the

defendant officer must have: (1) been present at the scene; (2) seen the use of alleged excessive

force; (3) had a realistic opportunity to prevent the alleged use of force; and (4) had sufficient

time to prevent the alleged use of force. See Gaudreault, 923 F.2d at 207, n.3. Even assuming

arguendo that Defendant Duff’s use of deadly force against Plaintiff was unconstitutional, which

it was not, bystander liability cannot attach under the circumstances. Defendants Bires and Tokas

were not present when Defendant Duff used deadly force against Plaintiff. DSMF ¶ 39. Once the

situation escalated, the State assumed responsibility for the armed stand-off, which lasted for

more than twenty hours. Id. ¶¶ 35-39. Officer Tokas left the scene at approximately 8:40 pm on

May 31, 2018. Id. ¶ 38. Officer Bires left the scene shortly after his interaction with Plaintiff to

return to the Ellsworth police station to prepare a search and arrest warrant. Id. ¶ 36. Officer

Bires had no further interaction with Plaintiff and was relieved from duty at approximately 9:00

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pm on May 31, 2014. Id. ¶ 37. Plaintiff was shot by Defendant Duff at approximately 3:30 am on

June 1, 2014. Id. ¶ 39. Neither Bires nor Tokas was present at the scene or on duty when the

shooting occurred. Id. As such, neither officer saw the alleged use of excessive force nor had a

realistic opportunity to intervene. Any claims against Defendants Bires and Tokas based on a

bystander theory of liability fail as a matter of law.

    II.        DEFENDANTS BIRES AND TOKAS ARE ENTITLED TO SUMMARY
               JUDGMENT ON PLAINTIFF’S STATE LAW TORT CLAIMS

          A.      Plaintiff’s State Law Tort Claims are Barred by the Statute of Limitation

          Plaintiff’s state law tort claims are barred by the statute of limitation provided in the

Maine Tort Claims Act (“MTCA”). See 14 M.R.S. § 8110. Plaintiff’s claims are against

governmental employees, officers of the Ellsworth Police Department. SMF ¶ 1; see also 14

M.R.S. § 8102(1)-(3). Under the MTCA, “[e]very claim against a governmental entity or its

employees permitted under this chapter is forever barred from the courts of this State, unless an

action therein is begun within 2 years after the cause of action accrues.” Id. The events giving

rise to Plaintiff’s state law tort claims against Officer Bires and Tokas occurred on May 31,

2014. SMF ¶ 3, 37-38. Plaintiff was therefore required to commence his action by May 31,

2016. Plaintiff initiated this action on June 1, 2016, beyond the two-year statute of limitation. 1

See SMF ¶ 44; Complaint, Doc. No. 1, ECF PageID# 4. Accordingly, his state law tort claims are

time barred.

          B.      Plaintiff Cannot Establish Assault and Battery Claims



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  Plaintiff’s “Declaration of Verification” states that he deposited the Complaint into an institutional US Mail Box
on the “date indicated below.” Complaint, Doc. No. 1, ECF PageID# 4. The date is written as “June 1, 2015.” Id.
(emphasis added). However, based on the date the Complaint was notarized (May 31, 2016), the date Plaintiff
signed the Complaint (June 1, 2016), and the date it was received and filed with the Court (June 3, 2016), the year of
“2015” in the verification is a typographical error and, in actuality, was 2016. Id. Pursuant to the prisoner mailbox
rule, Houston v. Lack, 487 U.S. 266, 276 (1998), Plaintiff’s Complaint was filed on June 1, 2016.


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       Plaintiff alleges state law tort claims of assault and battery. Amended Complaint at ECF

PageID# 139. Based on the undisputed facts, Plaintiff cannot establish a prima facie case for his

state law tort claims. See Celotex Corp. v. Catrett, 477 U.S. 317, 322–23, 106 S. Ct. 2548, 2552–53,

91 L. Ed. 2d 265 (1986) (“[T]here can be ‘no genuine issue as to any material fact,’ since a

complete failure of proof concerning an essential element of the nonmoving party's case necessarily

renders all other facts immaterial. The moving party is ‘entitled to a judgment as a matter of law’

because the nonmoving party has failed to make a sufficient showing on an essential element of

[his] case with respect to which [he] has the burden of proof.”); Estate of Smith v. Cumberland Cty.,

2013 ME 13, ¶ 19, 60 A.3d 759, 763 (“In order to survive summary judgment, a plaintiff in a tort

case must point to evidence in the record to support each element of his or her claim.”).

        “Under Maine law, the torts of assault and battery by a law enforcement officer require

either a false arrest or the use of excessive force during or after taking an individual into custody.”

Santoni v. Potter, 369 F.3d 594, 603 (1st Cir. 2004) (citing Bale v. Ryder, 290 A.2d 359, 360

(Me.1972)). Plaintiff has not alleged that he was falsely arrested by Defendants Bires and Tokas.

As discussed above, there is no evidence whatsoever that Defendants Bires or Tokas ever seized

Plaintiff or otherwise took him into custody. DSMF ¶ 40. Plaintiff cannot demonstrate that

Defendants Bires and Tokas used any physical force against him. Because he cannot demonstrate,

as a matter of law, a false arrest or excessive force, Defendants Bires and Tokas are entitled to

summary judgment on Plaintiff’s state law tort claims.

       To the extent Plaintiff is attempting to hold Bires and Tokas liable under a state tort theory

for the shooting by Defendant Duff, his claims fail as a matter of law because there is nothing in the

record to establish causation. Causation is a necessary element in a cause of action for all tort

claims. In order to establish a prima facie claim, there has to be a causal connection between



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Plaintiff’s alleged injuries and the alleged tortious conduct of Defendants. Plaintiff cannot, as a

matter of law, meet that burden. If “there is so little evidence tending to show that the defendant's

acts or omissions were the proximate cause of the plaintiff's injuries that the jury would have to

engage in conjecture or speculation in order to return a verdict for the plaintiff,” then the defendant

is entitled to summary judgment. Estate of Smith v. Salvesen, 2016 ME 100, ¶ 21, 143 A.3d 780.

Here, there is insufficient evidence for a jury to reasonably find or infer that there was a causal

connection between Plaintiff’s alleged damages and the actions of Defendants Bires and Tokas

twenty-hours prior to the shooting. There has to be proof that “there is some reasonable causal

connection demonstrated in the record between the act or omission of the defendant and the damage

that the plaintiff has suffered.” Estate of Smith v. Cumberland Cty., 2013 ME 13, ¶ 17, 60 A.3d

759, 763. Here, a jury could not find proximate cause without “speculation or conjecture” and

therefore Defendants Bires and Tokas are entitled to summary judgment on Plaintiff’s state law tort

claims as a matter of law. See id. ¶ 19.

       C.      Defendants Bires and Tokas are Immune under the MTCA

       Even if Plaintiff could establish a prima facie case for each tort, Defendants are entitled to

immunity under the MTCA. See 14 M.R.S.A. §§ 8101, et seq. Governmental employees are

entitled to personal immunity under the MTCA from civil liability for “performing or failing to

perform any discretionary function or duty . . . .” 14 M.R.S.A. §8111(1)(C). This is true “whether

or not the discretion is abused; and whether or not any statute, charter, ordinance, order, resolution,

rule or resolve under which the discretionary function or duty is performed is valid.” Id. The

MTCA also confers absolute immunity on governmental employees for intentional acts or

omissions that arise in the course and scope of their employment. 14 M.R.S.A. § 8111(1)(E). The




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only exception to the grant of immunity under Section 8111(1)(E) is for intentional acts performed

in “bad faith.” Id.

       Plaintiff’s section 1983 claim informs the disposition of Plaintiff’s claims under the MTCA.

See Berube v. Conley, 506 F.3d 79, 85–86 (1st Cir. 2007); see also Parker v. Dall-Leighton, et al.,

2017 WL 6210892, at *7 (D. Me. Dec. 8, 2017). Unless the evidence could reasonably be

construed to show that the conduct underlying Plaintiff’s claims of assault and battery “was so

egregious as to clearly exceed any discretion” the individual defendants had, they are entitled to

immunity. See Dimmitt v. Ockenfels, 220 F.R.D. 116, 125 (D. Me. 2004). Here, there is no

evidence that would allow a reasonable factfinder to conclude that the conduct of Defendants Bires

and Tokas was so egregious that it “fall[s] outside the zone of immunity provided by state law.”

Parker, 2017 WL 6210892, at *7 (D. Me. Dec. 8, 2017). See also Berube, 506 F.3d at 85–86.

During an exchange where Plaintiff refused officers’ commands to return the tractor key, Plaintiff

admittedly was becoming more and more agitated. Bires displayed his firearm briefly after Plaintiff

refused to immediately show his hands. Bires never used any physical force against Plaintiff.

Similarly, Tokas merely went and talked to Plaintiff in an attempt to deescalate the situation. This

does not come close to rising to the level of egregious conduct necessary to fall outside the zone of

immunity. See Holland v. Sebunya, 2000 ME 160, ¶¶ 17-18, 759 A.2d 205, 211–12. Defendants

Bires and Tokas are therefore entitled to summary judgment on Plaintiff’s state law tort claims.

                                          CONCLUSION

       For the foregoing reasons, Defendants Bires and Tokas request that the Court enter

summary judgment in their favor as to all of Plaintiff’s claims against them.

Dated at Portland, Maine, this 7th day of November, 2018

                                                     /s/ Edward R. Benjamin, Jr.
                                                     /s/ Kasia S. Park

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                                                       Edward R. Benjamin, Jr.
                                                       Kasia S. Park
                                                       Attorneys for Defendants Bires and Tokas
DRUMMOND WOODSUM
84 Marginal Way, Suite 600
Portland, ME 04101
(207) 772-1941
ebenjamin@dwmlaw.com
kpark@dwmlaw.com


                             CERTIFICATE OF SERVICE

       I hereby certify that on November 7, 2018, I electronically filed the foregoing Defendants

Bires and Tokas’ Motion for Summary Judgment with Incorporated Memorandum of Law with

the Clerk of Court using the CM/ECF system, which will send notification of such filings to all

counsel of record. A copy of the foregoing has also been sent to Plaintiff via U.S. First Class

Mail Postage Prepaid to:

               Jeffrey Barnard
               10533-036
               SCHUYLKILL
               Federal Correctional Institution
               Inmate Mail/Parcels
               P.O. Box 759
               Minersville, PA 17954


                                                       /s/ Kasia S. Park
                                                       Kasia S. Park
                                                       Attorney for Defendants Bires and Tokas


DRUMMOND WOODSUM
84 Marginal Way, Suite 600
Portland, ME 04101
(207) 772-1941
kpark@dwmlaw.com




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